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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

IN THE MATTER OF THE                              §          CIVIL ACTION NO. 2:17-CV-5394
COMPLAINT OF RODI MARINE, LLC,                    §
AS OWNER AND OPERATOR OF THE                      §                            JUDGE MORGAN
M/V WILDCAT, PETITIONING FOR                      §
EXONERATION FROM OR                               §             MAGISTRATE JUDGE NORTH
LIMITATION OF LIABILITY                           §

               STATEMENT OF CONTESTED AND ADDITIONAL MATERIAL
                    FACTS PERTAINING TO MOTION FOR PARTIAL
                 SUMMARY JUDGMENT FILED BY RODI MARINE, LLC

         NOW COMES, claimant / third party defendant, Fieldwood Energy LLC (“Fieldwood”),

and pursuant to Local Rule 56.2 files its Statement of Contested and Additional Material Facts as

concerns the Motion for Partial Summary Judgment (Doc. 50) filed by Rodi Marine, LLC

(“Rodi”). In Section I, Fieldwood responds to Rodi’s proffered Statement of Uncontested Facts

(Doc. 50-3). In Section II, Fieldwood identifies the additional facts that are material to resolving

Rodi’s motion for partial summary judgment. The evidentiary support for each individual

statement is attached as exhibits to this pleading.

I.       Fieldwood’s Response to Rodi’s Purported Uncontested Material Facts

      1.  THE M/V WILDCAT WAS WORKING FOR FIELDWOOD PURSUANT TO
THE FIELDWOOD/KILGORE MASTER TIME CHARTER AGREEMENT, EXHIBIT “A”.

         Admitted in part, denied in part as incomplete. See § II(A)(1-4, 15), infra.

         2.     THE MTCA DEFINES “CHARTERER” AS FIELDWOOD ENERGY LLC”.

         Admitted.

         3.     THE MTCA DEFINES “OWNER” AS KILGORE MARINE SERVICES LLC”.

         Admitted.

         4.     THE MTCA DEFINES “CHARTERER GROUP” AS



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               Charterer (Fieldwood) and its parent, affiliates and subsidiary companies, co-
               lessees, co-owners, partners, joint venturers, together with its and all of their
               respective officers, directors, employees, in-house legal counsel and agents,
               representatives, insurers and invitees of all of the foregoing and the respective
               successors, spouses, relatives, dependents, heirs, and estates of any of the
               foregoing.

               Admitted.

         5.    THE MTCA DEFINES “OWNER GROUP” AS

               Owner (Kilgore) and its parent, affiliates and subsidiary companies, the vessel,
               and its owners and operators, and its and their respective subcontractors of any
               tier, together with its and all of their respective officers, directors, employees,
               masters, operators, crew members, in-house legal counsel, agents, representatives,
               insurers and invitees and the respective successors, spouses, relatives, dependents,
               heirs, and estates of any of the foregoing.

               Admitted (emphasis added).

     6.        THE MTCA DEFINES FIELDWOOD’S INDEMNITY OBLIGATIONS AS
FOLLOWS:

               Charterer (Fieldwood) hereby agrees to release, indemnify, protect, defend and
               hold harmless Owner Group from and against any and all claims arising out of or
               related to (1) the injury, illness or death of any member of Charterer Group and/or
               (2) the loss, damage, or destruction and/or wreck and debris removal of any
               property belonging to any member of Charterer Group, without regard to whether
               any such injury, illness, death, loss, damage, destruction, wreck and/or debris
               removal is caused, in whole or in part, by the negligence (whether sole, joint, or
               concurrent; active or passive), strict liability, statutory liability, contractual
               liability, breach of warranty or other fault (excluding only the gross negligence
               and intentional misconduct) of any member of the Owner Group or by any defect
               or pre-existing condition (whether known or unknown; patent or latent, or
               otherwise) or unseaworthiness of the vessel.

               Admitted (emphasis added).

     7.  AT THE TIME OF THE ACCIDENT, SHAWN PHILBECK, LIONEL EVERY,
AND ANTONIO SMITH WERE EMPLOYEES OF FIELDWOOD.

               Admitted.

         8.    RODI TENDERED ITS DEFENSE AND INDEMNITY TO FIELDWOOD.




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                Objection as irrelevant. Subject to, and without waiving, the foregoing objection,

Fieldwood admits Rodi Fact No. 8.

         9.     FIELDWOOD DENIED THE TENDER.

                Admitted.

     10.  RODI SEPARATELY TENDERED ITS SETTLEMENT WITH SHAWN
PHILBECK TO FIELDWOOD AS FAIR AND REASONABLE.

                Objection as irrelevant. Subject to, and without waiving, the foregoing objection,

Fieldwood admits Rodi Fact No. 10.

         11.    FIELDWOOD DID NOT REPLY.

                Objection as irrelevant. Subject to, and without waiving, the foregoing objection,

Fieldwood admits Rodi Fact No. 11.

         12.    RODI SETTLED WITH SHAWN PHILBECK FOR $150,000.

                Objection as irrelevant. Subject to, and without waiving, the foregoing objection,

Fieldwood admits Rodi Fact No. 12.

II.      Additional Material Facts Necessary to Resolve Rodi’s Motion for Partial Summary
         Judgment

         A.     Rodi Owes Fieldwood Contractual Defense and Indemnity in Accordance
                with the Brokerage Agreement.

         1.     On May 6, 2014, Rodi, designated as “Operator”, and Kilgore Marine Services,

L.L.C. (hereafter “Kilgore”), designated as “Broker” executed a Brokerage Agreement, a copy of

which is attached as Exhibit 1.

         2.     Pursuant to the Brokerage Agreement, Rodi appointed Kilgore as Rodi’s agent for

obtaining charters or similar work contracts for Rodi’s vessels. (Exh. 1, Brokerage Agreement,

p. 1, art.1.)




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         3.      As set forth in the Brokerage Agreement, Kilgore acted at all times as the broker

of the M/V WILDCAT.           (Exh. 1, Brokerage Agreement, p. 1, art.1; Doc. 5, Third Party

Complaint, p. 5, para. 8.)

         4.     The Brokerage Agreement further provided as concerns the existence of master

time charter parties:

                  It is understood that in consideration of procuring work for [Rodi’s]
         vessel, Charterer may require that a Master Time or similar charter be in place
         between [Kilgore] and Charterer, and that the charter of [Rodi’s] vessel will be
         controlled by the Time Charter. [Rodi] agrees to assume any and all obligations
         which [Kilgore] has assumed in any such Time Charter including, but not limited
         to, all defense and indemnity and insurance procurement obligations.

         (Exh. 1, Brokerage Agreement, p. 2, art. 2.)

         5.     Article 5 of the Brokerage Agreement states as follows:

                  [Rodi] agrees to protect, defend, and indemnify and safe harmless Broker
         Group for, from and against [1] any and all claims, demands, causes of action and
         liabilities of every kind and character, whether to person or property (including,
         but not limited to personal injury, death, property damage or loss, economic
         damages, costs of litigation and attorneys’ fees), without limit and [2] without
         regard to the cause or causes thereof or the alleged, actual, passive, primary
         and/or secondary negligence, breach of warranty or contract, fault or
         unseaworthiness of Broker Group and/or any other person or entity, and [3]
         whether brought or presented by [Rodi] or by an employee, servant, and/or agent
         of [Rodi], and/or any contractor, sub-contractor, invitee, vendor or client of
         [Rodi] and/or their employees, servants or, agents, arising directly or indirectly
         out of, incident to, and/or connected with (i) [4] the work and/or services to be
         performed under this agreement, and/or (ii) [Rodi’s] failure to honor any of the
         obligations set forth in Section 2(B) of this agreement.

                                                ***

                In addition, [Rodi] shall reimburse Broker Group for any court costs,
         attorney’s fees or any other expenses incurred in pursuit or enforcement of these
         defense, indemnity or insurance obligations.

         (Id., p. 3, art. 5) (emphasis and bracketed numbering added).

         6.     Effective January 1, 2014, Kilgore and Fieldwood executed a Master Time

Charter Agreement (hereafter “Time Charter”), a copy of which is attached as Exhibit 2.

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         7.     Paragraph 2 of the Time Charter envisioned Kilgore acting as a broker for the

vessels Fieldwood would decide in the future to charter under the terms and conditions of the

Time Charter, as follows:

                 This Agreement does not obligate [Kilgore] to charter its vessels to
         [Fieldwood], nor does it obligate [Fieldwood] to hire any vessel or vessels owned,
         brokered, or chartered by [Kilgore], but it, together with any Short Form between
         [Kilgore] and [Fieldwood] dated subsequent to the Effective Date, shall govern
         the respective rights and duties of [Kilgore] and [Fieldwood] with respect to the
         charter of [Kilgore’s] vessels by [Fieldwood].

         (Exh. 2, Time Charter, pp. 1 – 2, para. 2.)

         8.     The Brokerage Agreement granted Kilgore authority, as broker, to provide the

WILDCAT to Fieldwood for its use as time charterer of the WILDCAT pursuant to the Time

Charter. (Exh. 1, Brokerage Agreement, p. 1, para. 1.)

         9.     The Brokerage Agreement defined the term “Charterer” as “any customer for

whom the vessel will be working”. (Id., p. 1, para. 1.)

         10.    Additionally, the Brokerage Agreement defined the term “Broker Group” as

including Kilgore, and “any Charterer or customer for whom work is to be performed.” (Id.)

         11.    The M/V WILDCAT was working for Fieldwood on or about April 18, 2017,

when the M/V WILDCAT allided with a platform in the Gulf of Mexico. (Doc. 5, Third Party

Complaint, p. 5, para. 8; Doc. 19, Answer and Affirmative Defenses to Third Party Complaint, p.

3, para. 8.)

         12.    Accordingly, Fieldwood was a member of the Broker Group. (Exh. 1, Brokerage

Agreement, p. 1, para. 1.)

         13.    Personal injury claims were filed in Rodi’s limitation proceeding by the following

individuals: Antonio Smith (Doc. 4, para. I(1) – “Claimant suffered severe bodily injuries”),

Shawn Philbeck (Doc. 8, para. I – “Shawn Philbeck . . . sustained injuries”), and Lionel Every Jr.


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(Doc. 12, para. III(3.1) – “Claimant sustained severe and disabling injuries”).

         14.   Rodi has settled the personal injury claims of the other passengers.

         15.   On April 17 and 18, 2017, the M/V WILDCAT was working and performing

services by virtue of both the Brokerage Agreement and the Time Charter. (Doc. 5, Third Party

Complaint, p. 5, para. 8; Doc. 19, Answer and Affirmative Defenses to Third Party Complaint, p.

5, para. 8.)

         B.    Alternatively, Rodi is not a Member of the Owner Group of the Time
               Charter.

         16.   Rodi Marine, LLC (“Rodi”) is a Louisiana limited liability company with its

registered address at 128 Tonbridge Drive, Lafayette, Louisiana. (Articles of Organization,

Initial Report and Affidavit of Acceptance of Rodi Marine, LLC, copies of which are attached in

globo as Exhibit 3.)

         17.   GJR Marine LLC was the owner of the M/V WILDCAT at the times of the April

18, 2017, allision (hereafter “Allision”) of the vessel with Platform S, located in Block 23, South

Timbalier Area (hereafter “ST 23-S”). (Certificate of Documentation for the M/V WILDCAT,

dated June 16, 2016, see entries for Owners and Managing Owner, copy attached as Exhibit 4.)

         18.   The Federal Communications Commission issued the Radio Station license for

the M/V WILDCAT to GJR Marine, LLC. (Radio Station Authorization, copy attached as

Exhibit 5.)

         19.   At the time of the Allision, Rodi was not the owner of the M/V WILDCAT.

         20.   GJR Marine, LLC is a Louisiana limited liability company, with its registered

office at 2544 SW Evangeline Thruway, Lafayette, Louisiana.            (Articles of Organization,

Acknowledgement, and Initial Report of GJR Marine, LLC, dated July 13, 2012, copies of which

are attached in globo as Exhibit 6.)


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         21.   RODI Marine Management, LLC employed the crew of the M/V WILDCAT on

duty at the time of the Allision, deckhand / operator, James Hammond, and Captain Randy

Louviere. (Deposition of James Hammond, hereafter “Hammond depo.”, pp. 12 – 13, excerpts

of which are attached as Exhibit 7; Application for Employment by James Hammond, attached

as Exhibit 8; Deposition of Capt. Randy Louviere, hereafter “Louviere depo.”, pp. 11 – 12,

excerpts of which are attached as Exhibit 9; Application for Employment by Randy Louviere,

attached as Exhibit 10.)

         22.   RODI Marine Management, LLC issued the paychecks to Mr. Hammond and

Capt. Louviere. (Hammond depo., p. 12.)

         23.   RODI Marine Management, LLC is a Louisiana limited liability company, with

its registered office at 2544 SW Evangeline Thruway, Lafayette, Louisiana.      (Articles of

Organization, Acknowledgment, and Initial Report of Rodi Marine Management, LLC, dated

November 23, 2010, copies of which are attached in globo as Exhibit 11.)

         24.   Rodi did not employ the masters or crew members of the M/V WILDCAT at the

time of the Allision.

         25.   The Report of Marine Casualty for the Allision completed by Capt. Louviere

identified “Rodi Marine Fast Supply Vessels” is the operating company of the M/V WILDCAT.

(Louviere depo., p. 13; Report of Marine Casualty, dated April 19, 2017, copy attached is

Exhibit 12.)

         26.   RODI Marine Management, LLC issued correspondence to Fieldwood concerning

some root causes of the Allision.      (May 10, 2017, correspondence from RODI Marine

Management, LLC to Fieldwood, a copy of which is attached as Exhibit 13.)

         27.   Besides the Brokerage Agreement, there is no document that identifies Rodi as



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the actual operator of the M/V WILDCAT.

         28.    In accordance with the Brokerage Agreement, Rodi was the principal and Kilgore

was Rodi’s agent. (Exh. 1, Brokerage Agreement, p. 1, art.1.)

         29.    As concerns the M/V WILDCAT, Rodi was not a subcontractor of the M/V

WILDCAT, GJR Marine, LLC or RODI Marine Management, LLC.

         30.    Rodi is not a member of “Owner Group” as defined by Paragraph 12(a)(iii) of the

Time Charter.

         C.     Alternatively, the Allision was Caused in Part by the Gross Negligence of the
                Owner Group, Voiding Fieldwood’s Indemnity Obligations to Rodi in
                Paragraph 12(b)(ii) of the Time Charter

         1.     If the Owner Group, as defined in Paragraph 12(a)(iii) of the Time Charter, were

grossly negligent in part in causing the Allision, then Fieldwood has no obligation to defend or

indemnify Owner Group for the personal injury claims of Fieldwood employees. (Exh. 2, Time

Charter, para. 12(b)(ii).)

         2.     The Owner Group is defined by Paragraph 12(a)(iii) to include the vessel’s

owner, operator, and their employees, masters, operators and crew members. (Exh. 2, Time

Charter, para. 12(a)(iii).)

         3.     For purposes of Time Charter Paragraph 12(a)(iii), the vessel was the M/V

WILDCAT. (Id.)

         4.     For purposes of Time Charter Paragraph 12(a)(iii), the vessel’s owner was GJR

Marine, LLC. (Id.; Exh. 4, Certificate of Documentation; Exh. 5, Radio Station Authorization.)

         5.     For purposes of Time Charter Paragraph 12(a)(iii), the vessel’s operator was

RODI Marine Management, LLC, the employer of the vessel crew, and Mr. Hammond and Capt.

Louviere were the employees of the operator. (Exh. 2, Time Charter, para. 12(a)(iii); Exh. 7,



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Hammond depo., pp. 12 – 13; Exh. 8, Application for Employment by James Hammond 8; Exh.

9, Louviere depo., pp. 11 – 12; Exh. 10, Application for Employment by Randy Louviere.)

         6.      At all times relevant herein, Mr. Hammond was a deckhand of the M/V

WILDCAT thus a crewmember of the vessel, and a member of the Owner Group for purposes of

Time Charter Paragraph 12(a)(iii). (Hammond depo., p. 14.)

         7.      At all times relevant herein, Mr. Hammond was also driving or operating the M/V

WILDCAT for several minutes prior to and including the time of the Allision, and thus a

member of the Owner Group for purposes of Time Charter Paragraph 12(a)(iii). (Hammond

depo., p. 87.)

         8.      For purposes of Time Charter Paragraph 12(a)(iii), at all relevant times, Capt.

Louviere served as the master of the M/V WILDCAT, and thus a member of the Owner Group.

(Louviere depo., p. 38.)

         9.      Prior to the time of the Allision, Mr. Hammond did not hold any merchant

mariner’s licenses. (Hammond depo., p. 17.)

         10.     He had not received any training or instruction to obtain a license as a mate or a

master. (Hammond depo., pp. 19 – 20.)

         11.     Under no circumstances did James Hammond hold the proper license to operate

the M/V WILDCAT. (Louviere depo., p. 120.)

         12.     Prior to the accident, Capt. Louviere and Mr. Hammond were on watch in the

wheelhouse of the M/V WILDCAT, as the vessel was leaving Fieldwood’s Grand Isle 90 – A

platform bound for the Fieldwood dock on Grand Isle. (Hammond depo., p. 87.)

         13.     It was daylight during that trip. (Hammond depo., pp. 152- 53.)

         14.     In order to get to and from Fieldwood’s Grand Isle 90 – A platform from



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Fieldwood’s Grand Isle shore base, the M/V WILDCAT had to navigate to the west and around

the Louisiana Offshore Oil Port, or LOOP. (Hammond depo., p. 78.)

         15.   On the return trip, from the Grand Isle 90-A platform back to the Grand Isle shore

base, Capt. Louviere was navigating to the west to avoid the LOOP. (Hammond depo., p. 78.)

         16.   Both Mr. Hammond and Capt. Louviere were aware that as the M/V WILDCAT

got closer to shore the number and density of offshore platforms and other structures increased.

(Hammond depo., p. 90; Louviere depo., p. 106.)

         17.   Capt. Louviere left the unlicensed Mr. Hammond behind the wheel of the M/V

WILDCAT to go to the bathroom. (Hammond depo., p. 107; Louviere depo., p. 92.)

         18.   The vessel’s speed at that time was between 20 to 21 and ½ knots, cruising speed.

(Hammond depo., p. 100; Louviere depo., pp. 111 – 12.)

         19.   Mr. Hammond did not adjust the course of the vessel, but left it on auto-pilot in

the direction that Capt. Louviere had it when he left the wheelhouse. (Hammond depo., pp. 110.)

         20.   Unless the knob of the auto-pilot is turned, the vessel will maintain its current

heading or direction. (Louviere depo., p. 29.)

         21.   It was daylight when Capt. Louviere left the wheelhouse. (Hammond depo., pp.

89, 155.)

         22.   According to Mr. Hammond, visibility was clear, with one to two foot seas.

(Hammond depo., p. 107.)

         23.   Capt. Louviere testified similarly; there was six plus miles of visibility, clear

skies, eight knot winds from the east, and two to three foot seas. (Louviere depo., p. 176.)

         24.   After Capt. Louviere left the wheelhouse, Mr. Hammond fell asleep behind the

wheel of the M/V WILDCAT. (Hammond depo., pp. 149, 191 & 209.)



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         25.    The next thing Mr. Hammond recalled was the vessel striking a platform, which is

what woke him up. (Hammond depo., pp. 99 – 100.)

         26.    Capt. Louviere was not in the wheelhouse before the WILDCAT struck the

platform. (Hammond depo., p. 99.)

         27.    Capt. Louviere testified that after he finished in the bathroom, he went into the

galley to get a banana to eat. (Louviere depo., pp. 92 - 93.)

         28.    Thereafter, Capt. Louviere conducted a check of the engine room, propeller

shafts, and generators. (Louviere depo., pp. 95 - 99.)

         29.    Before heading back to the wheelhouse, Capt. Louviere sat down in the doorway

between the rudder room and the generator room to tie his shoe, when he fell forward. (Louviere

depo., pp. 99 – 100.)

         30.    Checking the engine room, the rudders and the generators are ordinarily

performed by the deckhand or engineer, not the captain or master on duty. (Hammond depo., p.

179.)

         31.    Previously, no captain that had worked with Mr. Hammond checked the engine

room or the generators without there first being a problem. (Hammond depo., pp. 178 – 79.)

         32.    The Rodi Marine Services Safety Management System (hereafter “Safety

Management System”) was designed to provide recognized international standards for the safe

management of vessels. (Rodi Marine Services Safety Management System, excerpts of which

are attached as Exhibit 14, p. 1 of 5, § 1.1.)

         33.    The Safety Management System was to be “used by Rodi Marine Services and its

subsidiary companies, herein referred to as the Company”. (Id.)

         34.    The Safety Management System later defined the term “Company” as Rodi



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Marine Operators and its subsidiary companies. Owner of vessel(s) who has the responsibility

for the operation of the vessel(s) and duty to comply with the ISM Code.” (Id., p. 2 of 5, §

1.1(D).)

         35.     Rodi Marine, LLC, GJR Marine, LLC and RODI Marine Management, LLC are

separately owned limited liability companies, not subsidiaries of either Rodi Marine Services or

Rodi Marine Operators. (Exh. 3, Rodi Marine, LLC, Articles of Organization; Exh. 6, GJR

Marine, LLC, Articles of Organization; Exh. 11, RODI Marine Management, LLC, Articles of

Organization.)

         36.     There is no Safety Management System applicable to Rodi Marine, GJR Marine

or RODI Marine Management.

         37.     The Watch Standing provisions of the Safe Operations Manual provide, “NOTE:

Except in an emergency, there must be a minimum of (2) crewmembers awake and on

navigation watch, (fulfilling the procedures outlined in this section) while underway on

Company vessels.” (Safe Operations Manual, § 3.010, p. 1 of 14 (underlining and bold-face in

the original attached as Exhibit 15).

         38.     The Work Hours and Rest Periods section of the Watch Standing provisions

states, as follows:

         Every person assigned duty as Officer in Charge of a Navigational or Engineering
         Watch, or duty as ratings forming part of a navigational of (sic) engineering
         watch, or designated safety, prevention of pollution, and security duties onboard
         any Company vessel must receive:

         a. A minimum of 10 hours of rest in any 24-hour period.

(Safe Operations Manual, § 3.010(A)(2), p. 1 of 14.)

         39.     The captains and crew of the M/V WILDCAT each work a 12 – hour shift per

day. (Hammond depo., pp. 49 – 50; Louviere depo., pp. 82 – 83.)


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         40.   The first shift starts at midnight and ends at noon, which the WILDCAT crew

referred to as the “a.m.’s”. (Hammond depo., p. 70; Louviere depo., pp. 82 – 83.)

         41.   The second shift starts at noon and ends at midnight, which the WILDCAT crew

referred to as the “p.m.’s”. (Hammond depo., p. 70.)

         42.   The M/V WILDCAT had a permanent crew of four captains and three deckhands.

(Hammond depo., p. 53.)

         43.   The work hitch of the deckhands was fourteen days on the vessel, and seven days

on shore. (Hammond depo., p. 44.)

         44.   The work hitch of the captains was seven days on the vessel, and seven days on

shore. (Hammond depo., p. 53.)

         45.   The captains and deckhand that were going to board the vessel and begin their

hitch met at the Lafayette office of Rodi Marine Management. (Hammond depo., p. 45.)

         46.   Once everyone was there, they would board a company truck and drive to the

location where the vessel would be. (Hammond depo., pp. 45 – 46.)

         47.   En route, the truck would stop and the crew would purchase groceries for the

coming week. (Hammond depo., p. 48.)

         48.   At or near midnight of the day for crew changes for the M/V WILDCAT, two

captains and one deckhand would leave the vessel, and two captains and one deckhand would

board the vessel.

         49.   RODI Marine Management, LLC paid the crew beginning their shift on the day of

the crew changes. (Louviere depo., p. 167.)

         50.   On midnight April 18, Capt. Louviere, Capt. Lynn Dugas and Mr. Hammond

began the first day of their hitch on the M/V WILDCAT. (Louviere depo., pp. 63 – 64.)



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         51.   The first a.m. shift of the M/V WILDCAT would be manned by one of the

captains and the deckhand boarding the vessel to begin their shift at midnight. (Hammond depo.,

p. 69; Louviere depo., p. 82 - 83.)

         52.   Mr. Hammond received a maximum of two hours of sleep between the time he

woke up on April 17 at 6:30 a.m. until the Allision of the M/V WILDCAT, which occurred on

April 18 at approximately 9:00 a.m. (Hammond depo., p. 150.)

         53.   It did not surprise Capt. Louviere that Mr. Hammond only had two hours of sleep

in the twenty-eight hours preceding the Allision. “That was typical.” (Louviere depo., pp. 101 –

02.)

         54.   Between 5:00 a.m. on April 17, until 3:00 a.m. on April 18, Capt. Louviere had

one hour of sleep. (Louviere depo., pp. 157 – 58.)

         55.   If Capt. Louviere is going to work the a.m.’s, it is normal for Capt. Louviere to

only have two to three hours of sleep for the preceding 24-hour period before he is relieved by

Capt. Dugas. (Louviere depo., pp. 84 – 85.)

         56.   This pattern of short rest for the a.m. shift after crew changes had been going on

for five and one-half years before the Allision. (Louviere depo., p. 104).

         57.   Mr. Hammond testified as follows concerning his awareness of the risks of falling

asleep behind the wheel of the M/V WILDCAT:

               Q.       And you want to make sure that you have a clear and competent
               and non-fatigued operator of the vessel specifically to avoid a collision
               and the resulting problems that could result if the person behind the wheel
               falls asleep, right?

               A.      Yes.

               Q.     I mean, you knew that was a specific risk that could happen when
               Captain Louviere left you alone in the wheelhouse, right?



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               A.     Correct.

               Q.     Okay. You did nothing to tell him, “Cap, this is a bad idea. I’ve
               only had two hours of sleep in the past 24 hours. Can you just wait.”
               Right?

               A.     Correct.

               Q.     Okay. You knew that if you fell asleep that you were placing not
               only the vessel at risk, but your life, the life of the captain and the
               passengers riding below deck at significant risk of harm, right?

               A.     Correct.

               Q.     Yet you did nothing to stop it, right?

               A.     Correct.

               Q.      And you knew that you could stop it and not face any problems or
               discipline from the company for exercising your stop work authority,
               right?

               A.     Right.

               Q.     But you did it anyway?

                      MR. MORSE:
                      Object to the form. …

                      THE WITNESS:
                      That’s correct.

(Hammond depo., p. 200 – 01.)

         58.   Capt. Louviere was also aware of the risks of collision should Mr. Hammond fall

asleep behind the wheel while Capt. Louviere was not in the wheelhouse.

               Q.   All right. Before you went down out of the wheelhouse, did you tell Mr.
               Hammond that you – what did you tell him that you would be going for?

               A.     I said, “James, I have to make a bathroom run.” I said, “Are you all right?
               You feel okay?”

                      His response was, “Yes.”



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                      I said, “I’m going to the bathroom, and I’ll be right back.”

               Q.     Okay. Did – and then you added other tasks on to that?

               A.     Yeah, which was bad on my part.

               Q.     Right, I mean, getting a banana on the way back up, that’s not a problem,
               but extending the time away from the wheel, you realize now, that was a serious
               mistake?

               A.     Yeah, mistake on my part.

               Q.      Okay. Especially given the propensity that he had only two to three hours
               of sleep maximum for the 24 hours before?

               A.     Correct.

               Q.      Okay. And you knew one of the risks that could happen in this particular
               area that you’re navigating is that if he falls asleep, you’ve got a risk of either
               hitting another vessel or at least another – or at least a platform?

               A.     Yes.

               Q.    Right. Because the further you go in shore in this area of the Gulf of
               Mexico, the more platforms and caissons there are, correct?

               A.     Correct.

(Louviere depo., pp. 105 – 06.)

               Q.     And you knew that was one of the risks that could happen when you left
               the wheelhouse with James at the wheel?

               A.     Yeah, I was aware of it.

               Q.    Okay. And despite that risk, you disregarded it and went to the bathroom
               anyway leaving him at the wheel?

               A.     I guess in a sense, I did.

(Louviere depo., p. 107.)

         59.   The officers and directors of Rodi Marine asked Capt. Louviere questions

regarding operations and safety issues of the WILDCAT. (Louviere depo., pp. 156 – 57.)



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         60.   As concerns the short – rest issues concerning the oncoming captains and

deckhand on crew change day, Capt. Louviere testified as follows:

               Q.      Did this issue ever come up on the crew schedule and the amount of hours
               that people were required to be up particularly on that first day of your hitch?

               A.     After the accident, we talked about it.

               Q.     Did you ever mention it before?

               A.     We did mention it a couple of times.

               Q.     But nothing was ever done before the accident?

               A.     Nothing was ever done.

(Louviere depo., p. 157.)

         61.   Mr. Hammond testified that the company was aware of the situation where the

oncoming Captain and deckhand would be working on short rest and the potential dangers

associated with it. (Hammond depo., p. 148.)

               Q.      Right. And then that information would be relayed back to the company,
               correct? Or it should have been?

               A.     The company is aware of the situation.

               Q.     Right. Rodi Marine knew about that, right?

               A.     That’s correct.

               Q.     The management knew about it? How did the management know about
               it?

               A.     Because either way you do it, somebody’s going to be up, either it’s the
               guy that’s on the boat or just getting there. There’s no way around it.

               Q.     So again, the port captain and the management of Rodi Marine had to be
               aware of that? Do you agree with me?

               A.     I agree.

(Hammond depo., pp. 148 – 49.)


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                                                Respectfully submitted:


                                                    /s/ James D. Bercaw
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 7, 2018, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record.


                                                   /s/ James D. Bercaw




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